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LOAN SERVICING AND ESCROW AGREEMENT
CONCERNING WINN-DIXIE CLAIM

THIS LOAN SERVICING AND ESCROW AGREEMENT CONCERNING

WINN-DIXIE CLAIM (this "Agreement") is made and entered as of this day of
, 2006 (the “Effective Date”) by and among

> a ("BORROWER"),

> a 2

its successors and assigns ("LENDER"), and 5a

("SERVICER").

WITNESSETH:

A. BORROWER is the owner of a shopping center located at
; ; (“Premises”).
LENDER is the beneficiary under that certain Deed of Trust, Security Agreement and Fixture
Filing dated , (“Deed of Trust”) securing a loan to BORROWER in the
original principal amount of $ (“Loan”). Unless otherwise
defined herein, all capitalized terms shall be defined as set forth in the Deed of Trust.

B. , a (“Winn
Dixie”) and BORROWER were parties to that certain Lease, dated
, (“Lease”).

C. BORROWER and LENDER entered into that certain Absolute Assignment of
Rents and Profits and Collateral Assignment of Leases dated , , a copy
of which is annexed to this Agreement as Exhibit “1” (“Assignment of Leases”). Any words
or phrases defined in the Assignment of Leases shall have the same meaning and effect when
used in this Agreement. This Agreement is intended to supplement the terms and conditions
of the Assignment of Leases and nothing in this Agreement is intended to modify or changes
the substantive terms of the Assignment of Leases as between BORROWER and LENDER.

D. Pursuant to the terms of the Lease and Joint Plan of Reorganization of Winn-
Dixie Stores, Inc., approved on , Winn Dixie delivered to
[Insert description of stock and to whom it was delivered]

E. [Insert recital if stock is converted to cash before delivery to escrow.]

F. LENDER has received the $ proceeds (“Cash Proceeds”)
from the Letter of Credit as a result of the termination of the Lease. The purpose of this
Agreement is to supplement the Assignment of Leases to provide procedures for LENDER to
deposit the Cash Proceeds with SERVICER to be held and disbursed by SERVICER in
accordance with the terms of the Assignment of Leases. [Drafting Note: Revise based on
whether stock or cash will be delivered].

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NOW THEREFORE, for and in consideration of good and valuable considerations,
the receipt and sufficiency of which are hereby acknowledged, and the mutual agreements
hereinafter set forth, BORROWER, LENDER and SERVICER hereby agree as follows:

1. Concurrently with the execution of this Agreement, LENDER has deposited
with SERVICER an amount equal to (i) the Cash Proceeds while held by LENDER, less (ii)
$ previously deducted from such Cash Proceeds by LENDER at the request of

BORROWER for regular monthly payments of principal and interest under the Loan (the
“Deposit”). The Deposit shall be held and released in accordance with the terms and
conditions of this Agreement. [Drafting Note: Revise as applicable].

2. BORROWER and LENDER have requested SERVICER to accept and hold
the Deposit solely upon the terms and conditions set forth in this Agreement. Pursuant to the
request of BORROWER and LENDER, SERVICER shall receive and accept the Deposit
upon and subject solely to the remaining terms and conditions hereof.

3. SERVICER shall hold the Deposit and all other funds held by it pursuant to

this Agreement, in an interest-bearing account insured with , its
successors and assigns, styled “ as agent for
, Mortgage Loan # ” (the “Deposit

Account’). Until disbursed in accordance with this Agreement, all interest and other income
or proceeds earned thereon shall be held by SERVICER as a part of the Deposit. So long as
funds remain in the Deposit Account, within twenty (20) days after the end of each month,
Servicer shall provide Borrower a copy of the bank statement for the Deposit Account as of
the previous month end, along with a copy of the reserve account history from Servicer’s
system. BORROWER shall bear all risk of loss of the Deposit resulting from any cause
whatsoever, including any loss of principal, except for such loss due to the bad faith, gross
negligence or willful misconduct of the SERVICER. Neither LENDER nor SERVICER shall
be liable to BORROWER or any other party for a minimum rate of interest or any other rate
of return, yield or benefit accruing to the Deposit and any other funds held by SERVICER
under this Agreement.

4, Without further notice from LENDER or BORROWER, SERVICER shall
automatically deduct from the Deposit and make disbursements from the Deposit directly to
LENDER to pay regular monthly payments of principal and interest becoming due on the
Loan in the amount of $ monthly, beginning on the first day of the first calendar
month following the date of LENDER’s delivery of the Deposit to SERVICER and on or
before the first day of each calendar month thereafter (“Regular Loan Payment”), unless and
until LENDER submits supplemental written instructions to SERVICER directing the
discontinuation of disbursement of the Regular Loan Payment. In addition to disbursements
on account for Regular Loan Payments, LENDER may from time to time submit
supplemental written instructions to SERVICER directing SERVICER to make a direct
disbursement(s) to LENDER of other amounts becoming payable to LENDER on account of
the Loan (“Other Lender Payments”).

5. In addition to disbursements to LENDER in accordance with section 4 above,
BORROWER may become entitled to received disbursements from the Deposit as provided
in this section and LENDER shall instruct and direct SERVICER in writing to disburse to

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BORROWER funds from the Deposit for the items for which BORROWER is entitled to use
Rents and Profits pursuant to Section 7(a) of the Assignment of Leases and for which
BORROWER has properly submitted to LENDER (with a copy to SERVICER) of a written
disbursement request ("Disbursement Request") conforming to the following terms and
conditions for each disbursement (the "Disbursement Requirements") as applicable to the
particular Disbursement Request:

(i) With respect to Disbursement Requests by BORROWER under Section
7(a) of the Assignment of Leases, BORROWER shall provide to LENDER and SERVICER a
Disbursement Request at least ten (10) business days prior to the requested date of such
disbursement, which Disbursement Request shall include satisfactory evidence that such items
and/or conditions for which reimbursement or payment is sought have occurred, including:

(a) Borrower’s certification to LENDER that no uncured Event of
Default exists under the Note, the Deed of Trust, the Assignment of Leases or any of
the Loan Documents as of the date of the Disbursement Request; and

(b) Commercially reasonable documentary evidence of:

(1) In the case of Disbursement Requests to reimburse
BORROWER for funds advanced by BORROWER to make payments due
LENDER under the Loan Documents, the date, amount and evidence of the
applicable payments to LENDER for which the Disbursement Request is
submitted; or,

(2) In the case of Disbursement Requests to pay, or
reimburse BORROWER for payments previously made to pay, operating
expenses for the Premises:

(aa) Subject to Section 5.(i)(b)(2)(cc) below, an
invoice(s) and/or billing(s) from third parties for operating expenses
attributable to the Premises and BORROWER written certification and
warranty to LENDER that BORROWER will use the proceeds of the
disbursement to pay such invoice(s) and billing(s) within ten (10)
business days from the receipt of the applicable Disbursement; or

(bb) in the case of reimbursement requests, copies of
cancelled checks or other evidence of BORROWER’s prior payment of
the operating expenses for which the applicable Disbursement Request
is submitted.

(cc) Notwithstanding Section 5.(i)(b)(2)(aa) above to
the contrary, in the case of invoices exceeding $ or in the
case of as valorem taxes and insurance premiums and upon
BORROWER’S submission of the items set forth in Section
5.(i)(b)(2)(aa) above, LENDER reserves the right to direct SERVICER
to make payment for such expenses directly to the vendor or governing
body entitled to receive such payment.

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(ii) | With respect to requests for Disbursement Requests by BORROWER
for expenses related to modifying or upfitting the Property for any replacement tenant,
BORROWER shall not be entitled to submit any Disbursement Request unless and until
LENDER has approved a tenant(s) and a replacement lease(s) for the Premises in accordance
with Assignment of Leases and any other applicable requirements of the Loan Documents
(“Replacement Lease(s)”). Once a Replacement Lease(s) is approved by LENDER,
BORROWER shall be entitled to submit Disbursement Requests to LENDER and
SERVICER at least ten (10) business days prior to the requested date of such disbursement,
which Disbursement Request shall include satisfactory evidence that such items and/or
conditions for which reimbursement or payment is sought have occurred, including:

(a) BORROWER’ certification to LENDER that no uncured Event
of Default exists under the Note, the Deed of Trust, the Assignment of Leases or any
of the Loan Documents as of the date of the Disbursement Request;

(b) if the Disbursement Request is for payment of brokerage
commissions for a Replacement Lease(s), or for other costs reasonably incurred by
BORROWER in reletting the Premises, the Disbursement Request shall include the
invoice(s) and/or billing(s) from third parties and BORROWER’s written certification
and warranty to LENDER that BORROWER will use the proceeds of the
disbursement to pay such invoice(s) and billing(s) within ten (10) business days from
the receipt of the applicable disbursement, provided however, LENDER reserves the
right to direct SERVICER to make payment directly to the vender or broker (as
applicable);

(c) if the Disbursement Request is for tenant improvements costs
for a Replacement Lease(s) or restoration costs as described in the Assignment of
Leases, then any such Disbursement Request shall comply with the provisions of
preceding clause (a) and all of the following additional requirements as applicable to a
particular Disbursement Request:

(1) if the Disbursement Request is to for payment of the costs of
government permits (“Permit Costs”), architectural or engineering fees for the
design of such Tenant Improvement work or restoration work (“Design
Costs”) or payment of amounts due a contractor(s) performing such Tenant
Improvement work or restoration work (“Contractor Payment(s)”), the
Disbursement Request shall include the invoice(s) and/or billing(s) for such
Permits Costs, Design Costs or Contractor Payments and BORROWER’s
written certification and warranty to LENDER that BORROWER will use the
proceeds of the disbursement to pay such invoice(s) and billing(s) within ten
(10) business days from the receipt of the applicable disbursement; provided,
however, except for a Disbursement Request for a final disbursement for
Contractor Payments, which shall comply with the additional requirements set
forth in subsection 5(ii)(c)(2) below, the amount allowed on account of any
Contractor Payment(s) shall be limited to percent ( %) of the
applicable Disbursement Request for an interim Contractor Payment(s) with
the remaining percent (___%) held as a retention (“Retention”) and
shall otherwise be subject to the following conditions and requirements:

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(aa) The applicable Disbursement Request for a
Contractor Payment(s) shall be accompanied by a conditional lien
waiver covering the restoration or Tenant Improvement work for which
payment is request based on the progress of the work, which shall be
certified by BORROWER in the applicable Disbursement Request; and

(bb) IfLENDER elects, LENDER shall have the right
to cause an inspection of the restoration or Tenant Improvement work
by a current inspection report of the Premises prepared by LENDER's
inspecting architect/engineer, if applicable, at the cost of BORROWER
in order to confirm BORROWER’s estimate of the progress of the
work and that the work for which payment is requested has been
performed in a good and workmanlike manner.

(2) in the case of a final Disbursement Request for
Contractor Payment(s) following the completion of the Tenant Improvements
and/or restoration work for the applicable Replacement Lease(s),
BORROWER shall be entitled to submit a Disbursement Request for the final
Contractor Payment(s), including the Retention and such Disbursement
Request shall comply with all of the requirements and conditions in subsection
5(4i)(c)(1) above and the following additional requirements:

(aa) The final Disbursement Request for a Contractor
Payment(s) shall be accompanied by a conditional lien waiver covering
the restoration and Tenant Improvements work for which the
Disbursement Request is submitted;

(bb) The final Disbursement Request for a Contractor
Payment(s) shall include an original estoppel certificate executed by the
tenant under any Replacement Lease(s) of the Premises or a portion
thereof approved by LENDER, stating that such tenant has accepted
and occupied the space set forth in the Replacement Lease, and that
there are no defaults under such Replacement Lease (nor does there
exist any known event or condition, which with the passage of time or
the giving of notice, or both, could result in such a default); and

(cc) The final Disbursement Request for a Contractor
Payment(s) shall include a copy of any and all applicable certificates of
occupancy and other governmental permits issued by applicable
governmental authorities, which certificates and permits allow each
tenant pursuant to an Replacement Lease to occupy the Premises or the
portion thereof covered by the applicable Replacement Lease; and

(dd) if LENDER elects, LENDER shall have the right to
cause an inspection of the restoration or Tenant Improvement work by
a current inspection report of the Premises prepared by LENDER's
inspecting architect/engineer, if applicable, at the cost of BORROWER

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in order to confirm BORROWER’s determination of the completion of
such work in a good and workmanlike manner.

(3) Notwithstanding anything in this Section 5(ii)(c) to the
contrary, in the case of a Disbursement Request pursuant to this Section
5(i)(c) for an invoice greater than $ , the LENDER reserves the
right to direct SERVICER to make payment directly to the vendor entitled to
receive such payment.

(d) In the event BORROWER has previously paid the expense for
which a Disbursement Request is submitted, then BORROWER shall be entitled to
reimbursement from the Deposit upon presentation of a Disbursement Request
complying with the applicable requirements of this subsection 5(ii) and, in addition,
such Disbursement Request shall include copies of cancelled checks or other evidence
reasonably satisfactory to LENDER of BORROWER’s prior payment of the expenses
for which retmbursement is requested.

6. If not sooner disbursed in accordance with sections 3, 4 and/or 5 above,
LENDER shall instruct and authorize SERVICER in writing to disburse the Deposit to
BORROWER upon the date on which the Note has been repaid in full, all obligations of
BORROWER secured by this Agreement have been performed in full and the Deed of Trust
has been reconveyed to BORROWER.

7. This Agreement shall be irrevocable, and BORROWER and LENDER hereby
waives all rights and powers to alter, amend, revoke or terminate this Agreement. This
Agreement shall terminate when all compensation owed to SERVICER in connection with the
administration of this Agreement shall have been paid in full and the Deposit has been fully
disbursed in accordance with the terms hereof.

8. BORROWER hereby acknowledges that, pursuant to the Assignment of
Leases, LENDER has a first prior lien and security interest in and to the (a) the Deposit
Account and all rights relating thereto and proceeds therefrom and thereof; (b) all books and
records relating to the types and items of property described in the foregoing clause (i) under
BORROWER's control; and (c) all proceeds (whether cash or non-cash, and including without
limitation insurance proceeds) and products of the property described in the foregoing clause
(a) and all replacements and substitutions therefor and all additions and accessions thereto,
subject to any amounts owed to SERVICER, as security for payment of all indebtedness and
sums due under the Loan Documents and this Agreement. The parties hereto agree that this
Agreement constitutes a security agreement, and that BORROWER shall consent to such
financing statements and execute such other documents as LENDER shall deem reasonably
necessary or desirable to continue the perfection of LENDER's interest in the Deposit.

9. An "Event of Default" shall occur hereunder upon: (a) the failure of
BORROWER to properly apply any disbursements to pay any third party invoices or billings
within the time periods required in subsections 5(i)(b)(2)(aa), 5(ii)(b) or S5(ii)(c) above and
BORROWER shall not be entitled to any prior notice or grace period in the event of such a
default, (b) the failure of BORROWER to make any payment to or deposit any sum of money
with LENDER or SERVICER as and when due under this Agreement within ten (10) days

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from delivery of written notice to BORRWER, (b) a breach by BORROWER of any other
provision of this Agreement where BORROWER fails to fully cure such breach within ten
(10) days from delivery of written notice to BORRWER, or (c) the occurrence of an Event of
Default by BORROWER under any of the Loan Documents.

10. | Upon the occurrence of an Event of Default under this Agreement and while
such Event of Default is continuing, and subject to the terms of the Assignment of Leases: (a)
LENDER shall not be obligated to cause SERVICER to disburse the Deposit to
BORROWER; (b) LENDER shall be entitled to pursue all of its right and remedies under the
Loan Documents, and the remedies to which it is entitled at law and in equity, including,
without limitation, all remedies of a secured party under the Uniform
Commercial Code; and (c) SERVICER shall, upon written notice of an Event of Default from
LENDER, pay over to LENDER upon LENDER's request the Deposit, and LENDER shall be
entitled immediately to apply such sum in the following order and priority: first, to
SERVICER's Costs and Expenses (as defined in Paragraph 14 herein); second, to reimburse
LENDER for LENDER's reasonable out-of-pocket expenses incurred in connection with this
Agreement or the Loan; third, to discharge any delinquent payments of BORROWER and
accrued and unpaid interest thereon; and fourth, to pay accrued interest currently due and
owing under the Loan. The rights of LENDER hereunder are in addition to and without
limitation of any other rights and remedies that LENDER may have under this Agreement, the
Loan Documents or applicable law.

11. Notwithstanding the existence of any other liens or security interests in the
Deposit, upon the occurrence of an Event of Default under this Agreement and while such
Event of Default is continuing, and subject to the terms of the Assignment of Leases,
LENDER shall have the right to determine the order in which any or all of the Deposit, or the
Property shall be subjected to the remedies provided herein and in the Deed of Trust.
LENDER shall have the right to determine the order in which the indebtedness secured
hereby is satisfied from the proceeds realized upon the exercise of the remedies provided
herein and in the Deed of Trust. BORROWER, and any party who now or hereafter acquires
a lien or security interest in the Deposit or the Property and who has actual or constructive
notice of this Agreement or the Deed of Trust hereby expressly waives and relinquishes any
and all rights to demand or require the marshaling of liens or the marshaling of assets by
LENDER in connection with the exercise of any of the remedies provided herein or in the
Deed of Trust or permitted by applicable law.

12. | LENDER and SERVICER shall not in any way be responsible for failure to do
any or all of the things for which rights, interest, powers and authorities are herein granted.
LENDER and SERVICER shall be responsible only for the application of such cash,
documents or other property as it actually receives under the terms hereof; provided, however,
that the failure of SERVICER or LENDER to do any of the things or exercise any of the
rights, interests, powers and authorities hereunder shall not be construed to be a waiver of any
such rights, interests, powers and authorities.

13. SERVICER joins in the execution of this Agreement for the express purposes
of agreeing to be bound solely by the provisions set forth in this Agreement with respect to
the administration and disbursement of the Deposit that the Deposit may be disbursed
according to the provisions of this Agreement. BORROWER hereby acknowledges that

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pursuant to the Assignment of Leases, BORROWER released all power of dominion and
control over the Deposit and BORROWER shall not, by entering into this Agreement, have
any power of dominion or control of the Deposit and acknowledges that it shall not have
access to the Deposit except as specifically provided herein.

14. BORROWER agrees that LENDER and SERVICER shall incur no costs or
expenses whatsoever in connection with the preparation of this Agreement, the holding of the
Deposit or the administration of this Agreement, and BORROWER agrees that all costs and
expenses shall be borne and paid by BORROWER; provided, however, such costs and
expenses shall be deducted and paid directly from the Deposit to the extent of available funds.
BORROWER agrees that SERVICER will be entitled to receive: (i) an initial fee of
$ for the establishment of the Deposit, (ii) an annual fee of $ ,ora
one time fee of $ , whichever BORROWER elects, (iii) an amount of $
for each Disbursement Requested processed by SERVICER and (iv) any amounts payable to
SERVICER pursuant to section 16 below (collectively the "Costs and Expenses").
SERVICER shall have the right to withdraw such Costs and Expenses which are due and
owing from the Deposit prior to any disbursement. To the extent insufficient funds exist in
the Deposit to pay such Costs and Expenses, BORROWER shall pay such Costs and
Expenses within seven (7) days from receipt of an invoice from SERVICER.

15. Nothing contained in this Agreement shall constitute LENDER and/or
SERVICER as a joint venturer, partner or agent of BORROWER, or LENDER and/or
SERVICER liable for any debts, obligations, acts, omissions, representation, or contracts of
BORROWER or LENDER.

16. _. BORROWER shall indemnify and hold harmless SERVICER and its directors,
officers, employees, attorneys, successors and assigns from and against any and all actions,
suits, claims, demands, liabilities, losses, damages, obligations, liabilities and costs and
expenses (including litigation costs, accounting fees, and reasonable attorneys’ fees and
expenses) arising from or in any way connected in any manner whatsoever with: (a) the
holding of the Deposit in accordance with the provisions of this Agreement; (b) the acts,
errors or omissions of BORROWER, LENDER or the agent of either; and (c) SERVICER's
acting in accordance with the provisions of this Agreement, excepting only liability
occasioned solely by SERVICER's bad faith, gross negligence or willful misconduct, and, in
no other event shall SERVICER be liable for any incidental, consequential, special or punitive
damages. Furthermore, BORROWER agrees to release and hold harmless SERVICER and its
directors, officers, employees, attorneys, successors and assigns, from and against any and all
loss, liability, cost, damages and expenses incurred by BORROWER or LENDER, including,
without limitation, legal and account fees and expenses arising in any manner whatsoever out
of SERVICER's acting in accordance with the provisions of this Agreement. The provisions
of this paragraph shall survive the termination of this Agreement and any deposit provided for
by this Agreement.

17. All notices, demands, documents, requests, or other communications which are
required or permitted to be given or served hereunder shall be in writing and shall be effective
when received either (a) personally, (b) by Federal Express or similar overnight courier, (c)
by mail, postage prepaid, registered or certified mail, return receipt requested, or (d) except in
the case of any notice of default, by first class mail, addressed as follows:

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BORROWER:

LENDER:

SERVICER:

Such addresses may be changed from time to time by any party serving notice as above
provided.

18. BORROWER may not assign, pledge or otherwise transfer or encumber this
Agreement or any right hereunder separate and apart from the Loan Documents. This
Agreement shall be binding upon and inure to the benefit of the successors and permitted
assigns of BORROWER, LENDER and SERVICER.

19. This Agreement and the Assignment of Leases embody the entire agreement
among BORROWER, LENDER and SERVICER relating to the subject matter hereof, and
supersedes all prior agreements and understandings upon BORROWER, LENDER and
SERVICER relating to such subject matter. No implied covenants or obligations shall be read
into this Agreement against SERVICER. This Agreement may be changed, waived or
terminated only by an instrument in writing signed by the party against who enforcement of
such change, waiver or termination is sought.

20. ‘If any provision of this Agreement shall, for any reason, be held to be invalid,
illegal, or unenforceable, such invalidity, illegality or unenforceability shall not affect any
other provision hereof and this Agreement shall be construed as if such invalid, illegal or
unenforceable provision had never been contained herein.

21. | LENDER shall have all of the rights and remedies granted in this Agreement,
the Note, the Deed of Trust, the Assignment of Leases and other Loan Documents and
available at law and in equity, and these same rights and remedies shall be cumulative and
may be pursued separately, successively or concurrently against BORROWER, or any
property covered under the Deed of Trust or the Assignment of Leases or the Loan
Documents at the sole discretion of LENDER. The exercise or failure to exercise any of the
same shall not constitute a waiver or release thereof or of any other right or remedy, and the
same shall be non-exclusive.

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22. This Agreement shall be governed by and construed in accordance with the
laws of the State of and the laws of the United States applicable to
transactions undertaken within the State of

23. This Agreement may be executed in counterparts, each of which shall be
deemed an original and all of which, when taken together, shall be deemed one and the same
document.

24, The federal tax identification number of the BORROWER is

25. In the event at any time (a) of a dispute regarding the Deposit, (b) of a dispute
regarding the performance by LENDER or BORROWER under this Agreement or the other
Loan Documents, (c) of a dispute regarding the performance by any party under this
Agreement, or (d) SERVICER shall receive conflicting demands or instructions under this
Agreement, all parties hereto agree that at the sole option of SERVICER either (i) the Deposit
then held in escrow by SERVICER shall remain in escrow until written confirmation of the
resolution of the dispute, or (ii) SERVICER shall be entitled to deposit the funds contained in
the Deposit into a court of general jurisdiction in the State of and to interplead
the parties hereto in connection therewith, and the parties hereto hereby consent to the
jurisdiction of such court in connection with any such dispute.

26. SERVICER may resign from its obligations under this Agreement at any time
after thirty (30) days’ prior written notice to the other parties hereto. LENDER shall
designate, in its sole discretion, a substitute SERVICER promptly after receipt of notice of
resignation by SERVICER and shall take all reasonable actions necessary to cause such
designated successor to promptly assume the obligations of SERVICER hereunder.
SERVICER hereby agrees that it shall take all actions reasonably necessary and shall
cooperate with LENDER, at no expense to LENDER, to facilitate any transfer of
SERVICER's obligations, duties and rights hereunder. From and after the effective date of
resignation and the delivery of the Deposit to the replacement servicer designated by
LENDER, SERVICER shall have no further obligation or liability under this Agreement.

27. SERVICER may rely on any written instruction received from LENDER
without further inquiry. SERVICER may rely and shall be protected in acting or refraining
from acting upon any written notice from LENDER (including but not limited to
electronically confirmed facsimiles of such notice) believed by it to be genuine and to have
been signed or presented by a duly authorized person acting on behalf of LENDER.

28. | SERVICER is not chargeable with knowledge, and has no duties with respect
to, any other agreements between BORROWER and LENDER, including, without limitation,
the Loan Documents. SERVICER shall not be liable for any claims, suits, actions, costs,
damages, liabilities or expenses or for any interruption of services in connection with the
subject matter of this Agreement other than liabilities caused by bad faith, gross negligence or
willful misconduct on the part of SERVICER. In no event shall SERVICER be liable for any
incidental, consequential, special or punitive damages.

29. LENDER and BORROWER acknowledge and agree that: (a) SERVICER
makes no representations or warranties, express or implied, concerning the validity,

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effectiveness, perfection or priority of LENDER's security interest in the Deposit Account or
any funds in connection therewith; (b) this Agreement applies only to the Deposit referenced
herein, but not to any other deposit account which BORROWER may now or hereafter
maintain.

30, LENDER and BORROWER consent to the administration of the funds
associated with the Deposit by

31. In the event BORROWER becomes subject to voluntary or involuntary
proceedings under the U.S. Bankruptcy Code, or if SERVICER is served with legal process
which SERVICER in good faith believes affects the Deposit or the Deposit Account,
SERVICER shall have the right to place a hold on such Deposit until such time as
SERVICER receives an appropriate court order or other assurances satisfactory to
SERVICER establishing that the Deposit or the Deposit Account may be disbursed according
to the provisions of this Agreement.

32. Business Day shall mean any day, except Saturday, Sunday or a day which
banks in the State of are not required to be open for business.

(The remainder of this page is intentionally left blank.)

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IN WITNESS WHEREOF, LENDER, BORROWER and SERVICER have executed
this Agreement as of the day and year first above written.

BORROWER:

LENDER:

By:
Name:
Title:

SERVICER:

By:
Name:
Title:

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STATE OF )
) ss
COUNTY OF )
On , 20 , before me, :
a Notary Public in and for the State of , personally appeared

, personally known to me (or proved to me on the basis of
satisfactory evidence) to be the person whose name is subscribed to be the within instrument,
and acknowledged to me that he/she executed the within instrument in his/her authorized
capacity and that, by his/her signature on the within instrument, the person or entity upon
behalf of which he/she executed the within instrument.

WITNESS my hand and official seal.

Signature: [Seal]
STATE OF )
) ss
COUNTY OF )
On , 20 , before me, ;
a Notary Public in and for the State of , personally appeared

, personally known to me (or proved to me on the basis of
satisfactory evidence) to be the person whose name is subscribed to be the within instrument,
and acknowledged to me that he/she executed the within instrument in his/her authorized
capacity and that, by his/her signature on the within instrument, the person or entity upon
behalf of which he/she executed the within instrument.

WITNESS my hand and official seal.

Signature: [Seal]

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STATE OF )
) ss
COUNTY OF )
On , 20 , before me, ,
a Notary Public in and for the State of , personally appeared

, personally known to me (or proved to me on the basis
of satisfactory evidence) to be the person whose name is subscribed to be the within
instrument, and acknowledged to me that he/she executed the within instrument in his/her
authorized capacity and that, by his/her signature on the within instrument, the person or
entity upon behalf of which he/she executed the within instrument.

WITNESS my hand and official seal.

Signature: [Seal]

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Exhibit "1"
Assignment of Leases

_ Exhibit "1"
Assignment of Leases

